Name,Case
     Address2:18-cv-01435-PA-KS        Document
             and Telephone Number of Attorney(s):          115 Filed 01/26/21 Page 1 of 1 Page ID #:1415
                                                                                                              CLEAR FORM
Greg Victoroff, Greg Victoroff & Assoc. - SBN 89688
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                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                                                 CASE NUMBER
DAVID ZINDEL, etc.
                                                                           2:18-cv-01435 – PA- (KSx)
                                                Plaintiff(s)
                                v.
FOX SEARCHLIGHT PICTURES, INC., et al.
                                                                               MEDIATION REPORT

                                                Defendant(s).
Instructions: The mediator must file this Report within 5 days after the conclusion of a mediation session even
if the negotiations continue. If the case later settles with the assistance of the mediator, the mediator must file
a subsequent Report.
1.        ✔   A mediation was held on (date): January 21, 2021                  .
              A mediation did not take place because the case settled before the session occurred.
2.      The individual parties and their respective trial counsel, designated corporate representatives, and/or
        representatives of the party's insurer:
                ✔   Appeared as required by L.R. 16-15.5(b).
                    Did not appear as required by L.R. 16-15.5(b).
                                 Plaintiff or plaintiff's representative failed to appear.
                                 Defendant or defendant's representative failed to appear.
                            ✔    Other: Mediation was adjourned to allow counsel to confer with parties.
3.      Did the case settle?
                    Yes, fully, on                                (date).
                    Yes, partially, and further facilitated discussions are expected. (See No. 4 below.)
                    Yes, partially, and further facilitated discussions are not expected.
                ✔   No, and further facilitated discussions are expected. (See No. 4 below.)
                    No, and further facilitated discussions are not expected.
4.      If further facilitated discussions are expected, by what date will you check in with the parties?
         January 25, January 29, 2021.



Dated: January 26, 2021                                                           /s/Greg Victoroff/
                                                                               Signature of Mediator
The Mediator must electronically file original document in CM/                    Greg Victoroff
ECF using one of four choices under "Civil => Other Filings =>                 Name of Mediator (print)
ADR/Mediation Documents => Mediation Report (ADR-3)."

ADR-03 (10/19)                                         MEDIATION REPORT                                     Page 1 of 1
